CaSe 2:04-cr-20437-.]PI\/| Document 36 Filed 05/13/05 Page 1 of 2 Page|D 48

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) fm ~'FHIQ
P|aintiff, )
)
vs. ) cr. No. 04-20437-M1
)
RchARD RvAN sHAwN MchHELL, )
)
Defendant. )

 

ORDER

 

Upon oral motion of the United States, count one of the |ndictment against the

above-named defendant is hereby ordered D|SM|SSED.

lTlS So oRDEREDthis /£ . day ofMay,2005.

DMOQQ

JON . MCCALLA
ED STATES D|STR|CT JUDGE

 
  

 

YMM/c/»

Frederick H. Godwin
AUSA

 

   

UNITED sTATE DISTRIC COUR - WTERN D's'TRCT OFTENNESSEE

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Honorable J on McCalla
US DISTRICT COURT

